                          CERTIFICATE OF SERVICE

      I hereby certify that on September 29, 2023, I electronically filed the United

States’ amicus brief with the Clerk of the Court for the United States Court of

Appeals for the Eighth Circuit by using the appellate CM/ECF system.

      I further certify that, as of September 29, 2023, ten paper copies of the United

States’ amicus brief have been mailed to the Clerk of Court for the United States

Court of Appeals for the Eighth Circuit, and one paper copy of the United States’

amicus brief has been mailed to counsel for each of the parties in this case.


                                                s/ Simon C. Brewer
                                               Simon C. Brewer




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